
628 S.E.2d 384 (2006)
360 N.C. 290
STATE of North Carolina
v.
Keith Lamar BELLAMY and Leon McCoy.
No. 506P05.
Supreme Court of North Carolina.
January 26, 2006.
Brian Michael Aus, Durham, for Keith Lamar Bellamy.
Christopher W. Brooks, William B. Crumpler, Assistant Attorney Generals, Ben David, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant (Keith Lamar Bellamy) on the 6th day of September 2005 in this matter pursuant to G.S. 7A-30, the motion to dismiss the appeal for lack of substantial constitutional question and deny Petition for Discretionary Review filed by the Attorney General, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal and the petition to deny is
"Allowed by order of the Court in conference, this the 26th day of January 2006."
Upon consideration of the petition filed on the 6th day of September 2005 by Defendant (Keith Lamar Bellamy) in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of January 2006."
